                             Case 1:17-cr-03246-MV Document 528 Filed 01/26/22 Page 1 of 2
                                             UNITED STATES DISTRICT COURT, DISTRICT OF NEW MEXICO
                                                      SENTENCING MINUTE SHEET
     CR No.       17-3246-MV                                   USA vs.     Lucious
        Date:     January 26, 2022                        Name of Deft:    Keron Lucious
                      Before the Honorable        Martha Vázquez

        Time In/Out:          9:40 a.m. / 11:05 a.m.                            Total Time in Court (for JS10):     1 hour, 25 minutes
                 Clerk:       Linda Romero                                                   Court Reporter:        Carmela McAlister
                AUSA:         Letitia Simms                                            Defendant’s Counsel:         Douglas Couleur
      Sentencing in:          Santa Fe, New Mexico                                                Interpreter:
Probation Officer:            Jeff Tanny, Chris Aguilar                                               Sworn?             Yes                      No
      Convicted on:            X     Plea                  Verdict                                        As to:    X    Superseding              Indictment
                                                                                                                         Information

                  If Plea:     X     Accepted              Not Accepted     Adjudged/Found Guilty on Counts:

     If Plea Agreement:        X     Accepted              Not Accepted               No Plea Agreement             Comments:

 Date of Plea/Verdict:        8/19/21                                                                     PSR:           Not Disputed      X      Disputed

        PSR:          X       Court Adopts PSR Findings                                     Evidentiary Hearing:    X    Not Needed               Needed

 Exceptions to PSR:           Court grants defendant’s objection to the two-level vulnerable victim enhancement

         SENTENCE IMPOSED                                  Imprisonment (BOP): 60 months


Supervised Release:           5 years                                      Probation:                                                  500-Hour Drug Program

                Court recommends ICE begin removal proceedings immediately or during service of sentence                               ICE not applicable
                                                             SPECIAL CONDITIONS OF SUPERVISION
         No re-entry without legal authorization                                          Home confinement for            months          days
 X       Substance abuse testing (up to 60 tests per year)                                Community service for           months           days
 X       Substance abuse treatment program (waive confidentiality)                X       Reside residential reentry center up to 6 months
 X       Mental health treatment program (waive confidentiality)                  X       Register as sex offender, sex offender assessment, if there are
                                                                                          any conditions not recommended in the assessment, the Court
                                                                                          will amend conditions
 X       No alcohol/intoxicants (up to 4 tests per day)                           X       Participate in sex offender treatment program , assessment to be
                                                                                          provided to defense counsel
         Submit to search of person/property                                      X       Possess no sexual material, if recommended in assessment
 X       No contact with victim(s) and/or co-Deft(s)                              X       Computer monitoring program
         No entering, or loitering near, victim’s residence                               No contact with children under 18 years
         Provide financial information                                                    No volunteering where children supervised
         Grant limited waiver of confidentiality                                          Restricted from occupation with access to children
 X       No psychoactive substances                                                       No loitering within 100 feet of school yards
 X       OTHER: Educational or vocational program. Defendant to write letter to Court and let her know what type of vocational training he would
         like to pursue. Literacy program, obtain GED while on supervised release, financial literacy course. Provide financial information on
         income and expenses to his probation officer, and work with his probation officer to develop a budget and establish a savings account.

Fine:       $     0                                                                            Restitution: $      0 (Open for 90 days)

SPA:        $     100                           ($100 as to each Count)                   Payment Schedule:        X    Due during                  Waived
                                                                                                                        period of
                                                                                                                        supervision

OTHER:            Court finds the defendant is indigent and does not impose JVTA

         Advised of Right to Appeal              X        Waived Appeal Rights per Plea Agreement

 X       Held in Custody                                  Voluntary Surrender
              Case 1:17-cr-03246-MV Document 528 Filed 01/26/22 Page 2 of 2
                              UNITED STATES DISTRICT COURT, DISTRICT OF NEW MEXICO
                                       SENTENCING MINUTE SHEET
 Recommended place(s) of incarceration:

 Dismissed Counts:

OTHER COMMENTS          Court addresses defendant. Defense counsel addresses Court regarding objections to the PSR. Government
                        counsel addresses Court regarding objections to the PSR. Defense counsel addresses sentencing matters.
                        Defendant addresses Court and introduces his mother present in the courtroom. Court addresses defendant.
                        Government counsel addresses Court. Defense counsel responds. Court addresses defendant and imposes
                        sentence. Defense counsel addresses Court regarding placement at the residential reentry center, requesting that
                        defendant “may” rather than “shall” reside there, be imposed depending on whether defendant’s wife obtains a
                        suitable residence. Court advises that she will allow probation to do a home visit and inspection and make a
                        determination at that time. Court advises that since the condition is for “up to six months,” probation also has
                        the opportunity, once the defendant is at the halfway house and has been set up with employment, and
                        counseling, to then allow him to go to a new residence.
